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                                                                            U.S. DISTRICT COURT
                                                                            GJ#4N.D. OF ALABAMA

               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
                     v.                     )   Case No.
                                            )
JORDAN JAMAAD MCCANN                        )


                                    INDICTMENT

COUNT ONE: [21 U.S.C. §§ 841(a)(1), (b)(1)(C), and (b)(1)(D)]

      The Grand Jury charges that:

      On or about the 9th day of February 2023, in Jefferson County, within the

Northern District of Alabama, and elsewhere, the defendant,

                          JORDAN JAMAAD MCCANN,

did knowingly and intentionally possess with intent to distribute a controlled

substance, such offense involving a mixture or substance containing a detectable

amount of cocaine and a mixture or substance containing a detectable amount of

methamphetamine, in violation of Title 21, United States Code, Sections 841(a)(1)

and (b)(1)(C) and a mixture or substance containing a detectable amount of

marijuana, a controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(1) and (b)(1)(D).
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COUNT TWO: [18 U.S.C. § 924(c)(1)(A)]

      The Grand Jury charges that:

      On or about the 9th day of February 2023, in Jefferson County, within the

Northern District of Alabama, the defendant,

                          JORDAN JAMAAD MCCANN,

knowingly used and carried a firearm, that is, a Glock 9mm pistol, serial number

BEXH901, and a Glock 9mm pistol, serial number BKRE442, and a Troy West

Springfield, AR variant pistol, during and in relation to a drug trafficking crime

for which he may be prosecuted in a court of the United States, that is, the drug

trafficking crime alleged in Count One of this Indictment, in violation of Title 18,

United States Code, Section 924(c)(1)(A).

A TRUE BILL

/s/Electronic Signature

FOREPERSON OF THE GRAND JURY


                                                PRIM F. ESCALONA
                                                United States Attorney

                                                /s/Electronic Signature

                                                WILLIAM R. MCCOMB
                                                Assistant United States Attorney
